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“United States Bankruptcy Court for the:

District of Colorado

Case number (if known): Chapter you are filing under:
Chapter 7
C) Chapter 44

9-1 774K
Official Form 101 19

Voluntary Petition for Individuals Filing for Bankruptcy 12/17

The bankruptcy forms use you and Debtor 7 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a
joint case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,”
the answer would be yes if either debtor owns a car, When Information is needed about the spouses separately, the form uses Debfor 7 and
Debtor 2 to distinguish between them. In joint cases, one of the spouses must report information as Debtor 7 and the other as Debtor 2. The
same person must be Debtor 7 in all of the forms.

Cheek if this is an
~. amended filing

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

Ea Identify Yourself

About Debtor 1: About Debtor 2 (Spouse Only in a Joint Case):

4. Your full name

Write the name that isonyour = Rodn ey

government-issued picture - -

identification (for example, First name First name

your driver's license or

passport). Middle name Middle name

Bring your picture Long

identification to your meeting = Last name Last name

with the trustee. £3

Suffix (Sr., Jr., fH, HIND

Suffix (Sr., dr., #, Hl)

. All other names you
have used in the last 8

Identification number
(ITIN)

First name First name
years
Include your married or Middle name Middle name
maiden names.
Last name Last name
First name First name
Middle name Middle name
Last name Last name
. Only the last 4 digits of 1x
your Social Security — XK XXX XK =
number or federal OR OR
Individual Taxpayer
9xx -— xx - 9x - xx -

Official Form 101

Voluntary Petition for Individuals Filing for Bankruptcy

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Rodney

Debtor 1

A Long

First Name

Middia Name

Last Name

Case number (if known),

4. Any business names
and Employer
Identification Numbers
(EIN) you have used in
the last 8 years

Include trade names and
doing business as names

About Debtor 1:

() I have not used any business names or EINs.

R & L Investment KZ

About Debtor 2 (Spouse Only in a Joint Case):

C) i have not used any business names or EINs.

Rod's Place fA 2

Business name

Long's PropertiesLLC z._

Business name

Business name

EIN

Business name

84.1421075 p¢
=a >
EN i re i

5. Where you live

2823 Vine Street

Number Street

Denver CO 80205

City State ZIP Cade

Denver

County

If your mailing address is different from the one
above, fill it in here. Note that the court will send
any notices to you at this mailing address.

If Debtor 2 lives at a different address:

Number Street

City State ZIP Code

County

If Debtor 2’s mailing address is different from
yours, fill it in here, Note that the court will send
any notices to this mailing address.

Number Street Number Street

P.O. Box P.O. Box

City State ZIP Code City State ZIP Code
6. Why you are choosing Check one: Check one:

this district to file for
bankruptcy

A over the last 180 days before filing this petition,
| have lived in this district longer than in any
other district.

(2 | have another reason. Explain.
(See 28 U.S.C. § 1408.)

C) Over the last 180 days before filing this petition,
| have lived in this district longer than in any
other district.

(1 | have another reason. Explain.
(See 28 U.S.C. § 1408.)

Official Form 101

Voluntary Petition for Individuals Filing for Bankruptcy

page 2

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Debtor 1 Rodney

Long Case number (ff nown)

First Name Middle Name

Last Name

ee the Court About Your Bankruptcy Case

‘T

The chapter of the
Bankruptcy Code you
are choosing to file
under

Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing
for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.

(4 Chapter 7

L) Chapter 11
UO] Chapter 12
L] Chapter 13

How you will pay the fee

CI will pay the entire fee when | file my petition. Please check with the clerk’s office in your
local court for more details about how you may pay. Typically, if you are paying the fee
yourself, you may pay with cash, cashier's check, or money order. If your attorney is
submitting your payment on your behalf, your attorney may pay with a credit card or check
with a pre-printed address. ,

U | need to pay the fee in installments. If you choose this option, sign and attach the
Application for Individuals to Pay The Filing Fee in Installments (Official Form 103A).

(1 | request that my fee be waived (You may request this option only if you are filing for Chapter 7.
By law, a judge may, but is not required to, waive your fee, and may do so only if your income is
less than 150% of the official poverty line that applies to your family size and you are unable to
pay the fee in installments). If you choose this option, you must fill out the Application to Have the
Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.

9. Have you filed for No
bankruptcy within the
last 8 years? Yes. District When Case number
MM/ DD/YYYY
District When Case number
MM/ DD/YYYY
District When Case number
MM/ DD/YYYY
10. Are any bankruptcy i No
cases pending or being
filed by a spouse who is O Yes. Debtor Relationship to you
not filing this case with District When Case number, if known
you, or by a business MM/DD [YYYY
partner, or by an
affiliate?
Debtor Relationship to you
District When Case number, if known.
MM /DD/YYYY

11.

Do you rent your
residence?

W No. Go toline 12.
U Yes. Has your landlord obtained an eviction judgment against you?
C2 No. Go to line 12.

O) Yes. Fill out initial Statement About an Eviction Judgment Against You (Form 101A) and file it as
part of this bankruptcy petition.

Official Form 101

Voluntary Petition for Individuals Filing for Bankruptcy page 3
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Debtor 4 Rodney A Long

Case number (i known)

First Name Middle Name Last Name

Fd Rerer About Any Businesses You Own as a Sole Proprietor

42. Are you asole proprietor (J) No. Goto Part 4.
of any full- or part-time

business? Wi Yes. Name and location of business

Asole proprietorship is a
business you operate as an
individual, and is not a

Rod's Cars, Inc

Name of business, if any

separate legal entity such as 894 Havana St

a corporation, partnership, or

LLC. Number Street

If you have more than one

sole proprietorship, use a

separate sheet and attach it Aurora co 80012
to this petition. City State ZIP Gode

Check the appropriate box to describe your business:

() Health Care Business (as defined in 11 U.S.C. § 101(27A))
U1 Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
C) Stockbroker (as defined in 11 U.S.C. § 101(53A))

CY Commodity Broker (as defined in 11 U.S.C. § 101(6))

@ None of the above

If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it
can set appropriate deadlines. \f you indicate that you are a small business debtor, you must attach your
most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or if
any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).

43. Are you filing under
Chapter 11 of the
Bankruptcy Code and
are you a small business
debtor?

For a definition of small

business debtor, see
41 U.S.C. § 101(51D).

UW No. |amnot filing under Chapter 11.

C1 No. | am filing under Chapter 11, but lam NOT a small business debtor according to the definition in
the Bankruptcy Code.

C1 Yes. | am filing under Chapter 11 and [am a small business debtor according to the definition in the
Bankruptcy Code.

ee eeron if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14, Do you own or have any No
property that poses or is

alleged to pose a threat a Yes. What is the hazard?

of imminent and
identifiable hazard to

public health or safety?
Or do you own any

property that needs If immediate attention is needed, why is it needed?

immediate attention?
For example, do you own

perishable goods, or livestock
that must be fed, or a building
that needs urgent repairs?

Where is the property?

Number Street

City State ZIP Code

Official Form 101 Voluntary Petition for Individuals Filing for Bankruptcy page 4
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Debtor 1 Rodney

A Long Case number (if known),

First Name Middla Nama Last Name

ate Explain Your Efforts to Receive a Briefing About Credit Counseling

15. Tell the court whether
you have received a
briefing about credit
counseling.

The law requires that you
receive a briefing about credit
counseling before you file for
bankruptcy. You must
truthfully check one of the
following choices. If you
cannot do so, you are not
eligible to file.

If you file anyway, the court
can dismiss your case, you
will lose whatever filing fee
you paid, and your creditors
can begin collection activities
again.

About Debtor 1:

You must check one:

| received a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, and I received a
certificate of completion.

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency.

() I received a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, but | do not have a
certificate of completion.

Within 14 days after you file this bankruptcy petition,
you MUST file a copy of the certificate and payment
plan, if any.

L] | certify that | asked for credit counseling
services from an approved agency, but was
unable to obtain those services during the 7
days after | made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requirement.

To ask for a 30-day temporary waiver of the
requirement, attach a separate sheet explaining
what efforts you made to obtain the briefing, why
you were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you fo file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy.

If the court is satisfied with your reasons, you must
still receive a briefing within 30 days after you file.
You must file a certificate from the approved
agency, along with a copy of the payment plan you
developed, if any. If you do not do so, your case
may be dismissed.

Any extension of the 30-day deadline is granted
only for cause and is limited to a maximum of 15
days.

O tam not required to receive a briefing about
credit counseling because of:

C] incapacity. { have a mental illness or a mental
deficiency that makes me
incapable of realizing or making
rational decisions about finances.

CU) Disability. My physical disability causes me
to be unable to participate in a
briefing in person, by phone, or
through the internet, even after |
reasonably tried to do so.

(2) Active duty. | am currently on active military
duty in a military combat zone.

If you believe you are not required to receive a
briefing about credit counseling, you must file a
motion for waiver of credit counseling with the court.

About Debtor.2 (Spouse Only ina Joint Case):

You must check one:

C) I received a briefing from an approved credit
counseling agency within the 180 days before !
filed this bankruptcy petition, and | received a
certificate of completion.

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency.

U1 I received a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, but | do not have a
certificate of completion.

Within 14 days after you file this bankruptcy petition,
you MUST file a copy of the certificate and payment
plan, if any.

C) I certify that | asked for credit counseling
services from an approved agency, but was
unable to obtain those services during the 7
days after | made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requirement.

To ask for a 30-day temporary waiver of the
requirement, attach a separate sheet explaining
what efforts you made to obtain the briefing, why
you were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy.

If the court is satisfied with your reasons, you must
still receive a briefing within 30 days after you file.
You must file a certificate from the approved
agency, along with a copy of the payment plan you
developed, if any. If you do not do so, your case
may be dismissed.

Any extension of the 30-day deadline is granted
only for cause and is limited to a maximum of 15
days.

QO] 1am not required to receive a briefing about
credit counseling because of:

U2] Incapacity. | have a mental iliness or a mental
deficiency that makes me
incapable of realizing or making
rational decisions about finances.

C) Disability. My physical disability causes me
to be unable to participate in a
briefing in person, by phone, or
through the internet, even after |
reasonably tried to do so.

C) Active duty. | am currently on active military
duty in a military combat zone.

If you believe you are not required to receive a
briefing about credit counseling, you must file a
motion for waiver of credit counseling with the court.

Official Form 101

Voluntary Petition for Individuals Filing for Bankruptcy page 5

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Debtor 1 Rodney A Long

Case number (if known),

First Name Middle Name Last Name

a ewer These Questions for Reporting Purposes

16a, Are your debts primarily consumer debts? Consumer debis are defined in 11 U.S.C. § 101(8)
as “incurred by an individual primarily for a personal, family, or household purpose.”

UL] No. Go to line 16b.
© Yes. Go to line 17.

16. What kind of debts do
you have?

16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
money for a business or investment or through the operation of the business or investment.

C No. Go to line 16c.
UL] Yes, Go to line 17.

16c. State the type of debts you owe that are not consumer debts or business debts.

17. Are you filing under
Chapter 7?

Do you estimate that after Yes. | am filing under Chapter 7. Do you estimate that after any exempt property is excluded and

CJ No. {am not filing under Chapter 7. Go to line 18.

any exempt property is administrative expenses are paid that funds will be available to distribute to unsecured creditors?
excluded and W No

administrative expenses

are paid that funds will be OI Yes

available for distribution
to unsecured creditors?

18. How many creditors do 1-49 CJ 1,000-5,000 LU 25,001-50,000
you estimate that you Q 50-99 U 5,001-10,000 CJ 50,001-100,000
owe? C) 100-199 C3 10,001-25,000 CJ More than 100,000
C) 200-999
49. How much do you Wi $0-$50,000 CI $1,000,001-$10 million LJ $500,000,001-$1 billion

estimate your assets to

O) $50,001-$100,000

U $10,000,001-$50 million

LI $1,000,000,001-$10 billion

be worth? C] $10,000,000,001-$50 billion

C) More than $50 billion

(I $50,000,001-$100 million
C) $100,000,001-$500 million

UO) $100,001-$500,000
C) $500,001-$1 million

U2 $500,000,001-$4 billion

CL) $1,000,000,001-$10 billion
CJ $10,000,000,001-$50 billion
( More than $50 billion

CJ $1,000,001-$10 million

(2 $10,000,001-$50 million
(J $50,000,001-$100 million
CJ $100,000,001-$500 million

20. How much do you C) $0-$50,000
estimate your liabilities CL) $50,001-$100,000

to be? $100,001-$500,000

C) $500,001-$1 million
| have examined this petition, and | declare under penalty of perjury that the information provided is true and
For you correct.

If | have chosen to file under Chapter 7, | am aware that | may proceed, if eligible, under Chapter 7, 11,12, or 13
of title 11, United States Code. | understand the relief available under each chapter, and | choose to proceed
under Chapter 7.

if no attorney represents me and | did not pay or agree to pay someone who is not an attorney to help me fill out
this document, | have obtained and read the notice required by 11 U.S.C. § 342(b).

| request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

| understand making a faise statement, concealing property, cr obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

x Kecbo h& m. —~— EZ x
Signature of Debfor 1

Executed on 09/1 3/201 9
MM / DD IYYYY

Signature of Debtor 2

Executed on
MM / DD /YYYY

Official Form 101 Voluntary Petition for Individuals Filing for Bankruptcy page 6

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Debtor 1 Rod ney A Long Case number (if known)

First Name Middle Name Last Name

. 1, the attorney for the debtor(s) named in this petition, declare that | have informed the debtor(s) about eligibility
For your attorney, if you are to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief
represented by one available under each chapter for which the person is eligible. | also certify that | have delivered to the debtor(s)
the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies, certify that | have no
If you are not represented knowledge after an inquiry that the information in the schedules filed with the petition is incorrect.
by an attorney, you do not .

need to file this page. x Date 09/13/2019

Signature of Attorney for Debtor MM / DD /YYYY

Printed name

Firm name

Number Street

City State ZIP Code
Contact phone Email address
Bar number State

Official Form 101 Voluntary Petition for Individuals Filing for Bankruptcy page 7

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| 1 foetal cid

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Debtor 1 Rodney A Long Case number (i known),
First Nama Middle Nama Last Name
For you if you are filing this The law allows you, as an individual, to represent yourself in bankruptcy court, but you
bankruptcy without an should understand that many people find it extremely difficult to represent
attorney themselves successfully. Because bankruptcy has long-term financial and legal

consequences, you are strongly urged to hire a qualified attorney.

If you are represented by
an attorney, you do not To be successful, you must correctly file and handle your bankruptcy case. The rules are very

need to file this page. technical, and a mistake or inaction may affect your rights. For example, your case may be
dismissed because you did not file a required document, pay a fee on time, attend a meeting or
hearing, or cooperate with the court, case trustee, U.S. trustee, bankruptcy administrator, or audit
firm if your case is selected for audit. If that happens, you could lose your right to file another
case, or you may lose protections, including the benefit of the automatic stay.

You must list all your property and debts in the schedules that you are required to file with the
court. Even if you plan to pay a particular debt outside of your bankruptcy, you must list that debt
in your schedules. If you do not list a debt, the debt may not be discharged. If you do not list
property or properly claim it as exempt, you may not be able to keep the property. The judge can
also deny you a discharge of all your debts if you do something dishonest in your bankruptcy
case, such as destroying or hiding property, falsifying records, or lying. Individual bankruptcy
cases are randomly audited to determine if debtors have been accurate, truthful, and complete.
Bankruptcy fraud is a serious crime; you could be fined and imprisoned.

if you decide to file without an attorney, the court expects you to follow the rules as if you had
hired an attorney. The court will not treat you differently because you are filing for yourself. To be
successful, you must be familiar with the United States Bankruptcy Code, the Federal Rules of
Bankruptcy Procedure, and the local rules of the court in which your case is filed. You must also
be familiar with any state exemption laws that apply.

Are you aware that filing for bankruptcy is a serious action with long-term financial and legal
consequences?

LJ No

Wd Yes

Are you aware that bankruptcy fraud is a serious crime and that if your bankruptcy forms are
inaccurate or incomplete, you could be fined or imprisoned?

UO No

id Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out your bankruptcy forms?
No

C] Yes. Name of Person :
Attach Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).

By signing here, | acknowledge that | understand the risks involved in filing without an attorney. |
have read and understood this notice, and | am aware that filing a bankruptcy case without an
attorney may cause me to lose my rights or property if | do not properly handle the case.

x And, Ou x

Signature of Debtor Y Signature of Debtor 2
Date 09/13/2019 Date
MM/DD /YYYY MM/ DD /YYYY
Contact phone Contact phone
Cell phone (720) 436-2106 h 2 Cell phone
Email address Email address

Official Form 101 Voluntary Petition for Individuals Filing for Bankruptcy page 8
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Certificate Number: 12459-CO-CC-033407293

2459-CO-

CERTIFICATE OF COUNSELING

I CERTIFY that on September 13, 2019, at 10:15 o'clock AM PDT, Rodney A
Long received from Abacus Credit Counseling, an agency approved pursuant to
11 U.S.C. 111 to provide credit counseling in the District of Colorado, an
individual [or group] briefing that complied with the provisions of 11 U.S.C.
109(h) and 111.

A debt repayment plan was not prepared. If a debt repayment plan was prepared, a |
copy of the debt repayment plan is attached to this certificate.

| This counseling session was conducted by internet.

Date: September 13, 2019 By: /s{Merridy Knapp

Name: Merridy Knapp

Title: Credit Counselor

* Individuals who wish to file a bankruptcy case under title 11 of the United States Bankruptcy
Code are required to file with the United States Bankruptcy Court a completed certificate of
counseling from the nonprofit budget and credit counseling agency that provided the individual
the counseling services and a copy of the debt repayment plan, if any, developed through the
credit counseling agency. See 11 U.S.C. 109(h) and 521(b).

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TMU ULCMI LCE CEm OC CILILA a celui ec CLs

Debtor 1 Rodney A Long
First Name Middle Name Last Name

Debtor 2

(Spouse, if filing) First Name Middle Name Last Name

United States Bankruptcy Court for the: District of Colorado

Case number
(if known)

Official Form 107

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L) Check if this is an
amended filing

Statement of Financial Affairs for Individuals Filing for Bankruptcy 04/19

Be as complete and accurate as possible. if two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case

number (if known). Answer every question.

a Give Details About Your Marital Status and Where You Lived Before

4. What is your current marital status? _

4 Married
(2 Not married

2. During the last 3 years, have you lived anywhere other than where you live now?

WY No

UO Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

Debtor 1: Dates Debtor1. Debtor 2:

lived there

(2) same as Debtor 4

Dates Debtor 2
lived there

L) same as Debtor 4

From

C] same as Debtor 1

From
Number Street

To
City State ZIP Code

From
Number Street

To

City State ZIP Code

Number Street

To

City

State ZIP Code

CL) same as Debtor 1

From

Number Street

To

City

State ZIP Code

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

W No

CL) Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

Es Explain the Sources of Your Income

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy

page 1
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Debior1 Rodney A Long

First Name Middle Name Last Name

Case number (ifknown)

4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
Fill in the total amount of income you received from all jobs and ail businesses, including part-time activities.
If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

C] No
Wi Yes. Fill in the details.

Sources of. income Gross income Sources of income Gross income
Check all that apply. (before deductions and... Check ail that apply. (before deductions and
: exclusions) exclusions)
From January 1 of current year until U) Wages: commissions, $ 45,000.00 O ages, commissions, $
the date you filed for bankruptcy: 9 S, UP TT OnUSES, NPS
Operating a business C) Operating a business
For last calendar year: O Wages, commissions, Q Wages, commissions,
. bonuses, tips $ 58,000.00 bonuses, tips $
(January 1 to December 31,2018 18) ‘Al Operating a business (} Operating a business
For the calendar year before that: LJ Wages, commissions, UL} Wages, commissions,
bonuses, tips bonuses, tips $
(January 1 to December 31,204 7 ) @ operating a business © LY operating a business

5. Did you receive any other income during this year or the two previous calendar years?
Include income regardless of whether that income is taxable. Examples of ofher income are alimony; child support; Social Security,
unemployment, and other public benefit payments; pensions; rental income: interest; dividends; money collected from lawsuits; royalties; and i
gambling and lottery winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

List each source and the gross income from each source separately. Do not inciude income that you listed in line 4.

WW No
QI Yes. Fill in the details.

Sources of income Gross income from Sources of income Gross income from
Describe below. each source Describe below. each source
(before deductions and (before deductions and
exclusions) exclusions)
From January 1 of current year until
the date you filed for bankruptcy:
$
For last calendar year: $
(January 1 to December 312018)
YYYY
For the calendar year before that: $
(January 1 to December 31,2017_)
YYYY $
$

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 2 |
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Debtor 1 Rodney A Long Case number (i known),

First Name Middie Name Last Name

ee ust Certain Payments You Made Before You Filed for Bankruptcy

6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?

CJ No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
“incurred by an individual primarily for a personal, family, or household purpose.”

During the 90 days before you filed for bankruptey, did you pay any creditor a total of $6,825* or more?

CI No. Go te line 7.

() Yes. List below each creditor to whom you paid a total of $6,825* or more in one or more payments and the

* Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.

total amount you paid that creditor. Do not include payments for domestic support obligations, such as
child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.

WY Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.

During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

U) No. Go to line 7.

4 Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that

creditor. Do not include payments for domestic support obligations, such as child support and
alimony. Also, do not include payments to an attorney for this bankruptcy case.

Dates of Total amount paid Amount you still owe
payment
Specialized Loan Servicing 09/01/2019 ¢ 2,733.00 ¢ 385,266.00
Creditors Name
8742 Lucent Blvd, #300
Number Street
Highlands RancCO 80129
City State ZIP Code
$ $
Creditor's Name
Number Street
City State ZIP Code
$ $

Creditor’s Name

Number Street

City State ZIP Code

Was this payment for...

wW Mortgage

UO) car

LI credit card

LJ Loan repayment

OQ Suppliers or vendors

L) other

QO Mortgage

Q) car

(2 credit card

LJ) Loan repayment

C) Suppliers or vendors
CD other

O Mortgage

L) car

C] credit card

2) Loan repayment
CO) Suppliers or vendors

(2 other

Official Form 107

Statement of Financial Affairs for Individuals Filing for Bankruptcy

page 3
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Debtor 1 Rodney A Long

Case number (i known)

First Name Middle Name Last Name

7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations,
such as child support and alimony.

Wi No

OC) Yes. List all payments to an insider.

Dates of Total amount Amount you still. ‘Reason for this payment
payment paid owe
$ $
Insider's Name
Number Street
City State ZIP Code
$ $
Insider's Name
Number Street
City State ZIP Code

1
Loe

8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited
an insider?

Include payments on debts guaranteed or cosigned by an insider.

W No

C] Yes. List all payments that benefited an insider.

Dates of Total amount Amount you still Reason for this payment
payment paid owe _ Include creditor's name
Insider's Name $ $
Number Street
City State ZIP Code
$ $

Insider's Name

Number Street

City State ZIP Code

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 4

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Debtor 4 Rodney

A Long

First Name Middle Name

Last Name

ea Identify Legal Actions, Repossessions, and Foreclosures

Case number (if known)

9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications,

and contract disputes.

CJ No
© Yes. Fill in the details.

Case tile Civil Case

Nature of the case

Civil suit brought against
Rodney Long and his

companies

16CV32568

Case number

Case title

Case number

Court or agency Status of the case

City & County of Denver Q

Court Name Pending
CJ on appeal

1437 Bannock Street pp

Number Street Concluded

Denver CO 80202

City State ZIP Code

Court Name O Pending
U on appeal

Number Street UL) concluded

City State ZIP Code

10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
Check all that apply and fill in the details below.

LU] No. Go to line 11.

W@ Yes. Fill in the information below.

Describe the property Date Value of the property
| Bank Accounts
Civil Suit as listed above | $
Creditors Name :
Number Street Explain what happened
C) Property was repossessed.
C) Property was foreclosed.
LJ) Property was garnished.
City State ZIP Code uw Property was attached, seized, or levied.
Describe the property Date Value of the property
ooo
| |
| 2 s
Creditor’s Name | |
|
Number Street ~
Explain what happened
u Property was repossessed.
L) Property was foreclosed.
_ C) Property was garnished.
City State ZIP Code
Q) Property was attached, seized, or levied.

Officiat Form 167

Statement of Financiat Affairs for-individuals Filing for Bankruptcy

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Debtor 1 Rodney A Long Case number (i known)

First Name Middle Name Last Name

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
accounts or refuse to make a payment because you owed a debt?

Wi No

C) Yes. Fill in the details.

Describe the action the creditor took Date action Amount
was taken
Creditors Name C /
Number Street $
|
‘ I
City State ZIP Coda Last 4 digits of account number: XXXX—___

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
creditors, a court-appointed receiver, a custodian, or another official?

W@W No
C) Yes

Ea List Certain Gifts and Contributions

43. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

W No
C) Yes. Fill in the details for each gift.

Gifts with a total value of more than $600 Describe the gifts Dates you gave Value
per person the gifts
$
Person to Whom You Gave the Gift :
i
$
Number Street
City State ZIP Code i
Person’s relationship to you
Gifts with a total value of more than $600 Describe the gifts Dates you gave Value
per person cots enna . . cos coun, the gifts
$
Person to Whom You Gave the Gift
$
Number Street

City State ZIP Code

Person's relationship to you

Officiat Form 167 Statement-of-Financial-Affairs-for-individuals Filing-for Bankruptey pag

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Debtor 1 Rodney A Long Case number (if known)

First Name Middle Name. Last Name

44.Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

A No J

C) Yes. Fill in the details for each gift or contribution.

Gifts or contributions to charities Describe what you contributed Date you Value
that total more than $600 contributed
. $
Charity’s Name
3

Number Street

City State ZIP Code

Eo List Certain Losses

45. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other
disaster, or gambling?

W No

UI Yes. Fill in the details.

Describe the property you lost and Describe any insurance coverage for the loss Date of your Value of property

how the loss occurred : 2 coe loss lost
include the amount that insurance has paid. List pending insurance

claims on line 33 of Schedule A/B: Property.

|
|
|
| |
' |
y
i
i

List Certain Payments or Transfers

46. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone
you consulted about seeking bankruptcy or preparing a bankruptcy petition?
Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

WW No
2) Yes. Fill in the details.

Description and value of any property transferred Date payment or Amount of payment
transfer was
Person Who Was Paid made
|
Number Street $ |
$
City State ZIP Cade
Email or website address
Person Who Made the Payment, if Not You
4

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 7
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Debtor 1 Rodney A Long Case number (if known)
First Name Middle Name Last Name
Description.and value of any property transferred Date payment or. Amount of
transfer was made «payment
Person Who Was Paid
$
Number Street
$

City State ZIP Code

Email or website address

Person Who Made the Payment, if Not You

17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
promised to help you deal with your creditors or to make payments to your creditors?
Do not include any payment or transfer that you listed on line 16.

W No

[) Yes. Fill in the details.

Description and value of any property transferred Date payment or. Amount of payment
transfer was
- made
Person Who Was Paid i
Number Street | i $
$

Oly Stale ZIPCode ee

48. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
transferred in the ordinary course of your business or financial affairs?
Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
Do not include gifts and transfers that you have already listed on this statement.

W No

QC) Yes. Fill in the details.

Description and value of property Describe any property or payments received Date transfer
transferred or debts paid in exchange was made

i

Person Who Received Transfer :

Number Street

City State ZIP Code

Person’s relationship to you

Person Who Received Transfer

Number Street

City State ZIP Code

Person's relationship to you

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 8
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Debtor 1 Rodney A Long Case number (if known).

First Name Middle Name Last Name

49.Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you
are a beneficiary? (These are often called asset-protection devices.)

W No
CU) Yes. Fill in the details.

Description and value of the property transferred Date transfer
was made

Name of trust |

List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

‘| 20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit,
closed, sold, moved, or transferred?

Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
brokerage houses, pension funds, cooperatives, associations, and other financial institutions.

U No

(2 Yes. Fill in the details.

Last 4 digits of account number Type of account or Date account was Last balance before
instrument closed, sold, moved, . .closing or transfer
or transferred
Name of Financial Institutlon
XXXX— __ __ C) checking $
Q Savings

Number Street

Q Money market

QO Brokerage

City State ZIP Code G2 other
XXXX- C checking $
Name of Financial Institution
O Savings
Number Street OQ Money market

U Brokerage
C2 other.

City State ZIP Code

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for
securities, cash, or other valuables?

WW No
QC) Yes. Fill in the details.

Who else had access to it? Describe the contents Do you still
have it?
CQ) No
Name of Financial Institution Name C) Yes
Number Street Number Street
City State ZIP Code
City State ZIP Code

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Debtor 1 Rodney A Long Case number (iF known)

First Name Middle Name Last Name

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
g No
(I Yes. Fill in the details.

Who else has or had access to it? Describe the contents Do you:still
have it?
QO No
Name of Storage Facility Name QO Yes
Number Street Number Street

CityState ZIP Code

City State ZIP Code

Eo Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
or hold in trust for someone.
W No
C) Yes. Fill in the details.
Where is the property? Describe the property Value

Owner's Name + $

|
Number Street

City Stata ZIP Code

City State ZIP Code

fi el'ta ~Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

# Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
hazardous or toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
including statutes or regulations controlling the cleanup of these substances, wastes, or material.

a Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or
utilize it or used to own, operate, or utilize it, including disposal sites.

«& Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
substance, hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24.Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

Wi No

C) Yes. Fill in the details.

Governmental unit Environmental law, if you know it Date of notice
Name of site Governmental unit
Number Street Number Street

City State ZIP Code

City State ZIP Code

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 10

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Debtor 1 Rodney A Long Case number (if known),

First Name Middle Name Last Name

25. Have you notified any governmental unit of any release of hazardous material?

W No

U) Yes. Fill in the details.

Governmental unit Environmental law, if you know it Date of notice
|
:
Name of site Governmental unit |
Number Street Number Street
City State ZIP Code

City State ZIP Code

26.Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

No
Cl Yes. Fill in the details.

Court or agency Nature of the case Stats of the
Case title
Court Name O Pending
Q On appeal
Number Street C3 conctuded
Case number City State ZIP Code

Give Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
C) Asole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
uw Amember of a limited fiability company (LLC) or limited liability partnership (LLP)
OQ) A partner in a partnership
W an officer, director, or managing executive of a corporation

U An owner of at least 5% of the voting or equity securities of a corporation

U) No. None of the above applies. Go to Part 12.
W Yes. Check all that apply above and fill in the details below for each business.
Describe the nature of the business Employer Identification number

'
Rod's Place Inc _.. Do not include Social Security number or ITIN.

Business Name

Number Street |

Name of accountant or bookkeeper Dates business existed
| From To
City State ZIP Code i :
Describe the nature of the business Employer Identification number
R & L Investments oe Do not include Social Security number or ITIN.

Business Name

Car Sales dba Rod's Cars

Number Street " oe
Name of accountant or bookkeeper Dates business existed
|

| From To

City State ZIP Code i

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 11
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Debtor 1 Rodney A Long Case number (i known)

First Name Middla Name Last Name

/ Describe the nature of the business Employer Identification number
Long Properties LLC wn Do not Include Social Security number or ITIN.

Business Name
EIN; 1 1-3 7.1 5 1 4 7

Number Street Name of accountant or bookkeeper Dates business existed

From To

City State ZIP Code

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
institutions, creditors, or other parties.

A No

UI Yes. Fill in the details below.

Date issued

Name MM/DD/YYYY _

Number Street

City State ZIP Code

| have read the answers on this Statement of Financial Affairs and any attachments, and | declare under penalty of perjury that the
answers are true and correct. | understand that making a false statement, concealing property, or obtaining money or property by fraud
in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.

18 U.S.C. §§ 152, 1341, 1519, and 3571.

x Ao bn he a x

Signature of Debtor 1 Signature of Debtor 2

Date 09/13/2019 Date
Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
UW No
C) Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

W No

LJ Yes. Name of person . Attach the Bankruptcy Petition Preparer's Notice,
Declaration, and Signature (Official Form 119).

Official Form 167 Statement of Financial Affairs for individuals Filing for Bankruptcy page 12

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United States Bankruptcy Court for the: District of Colorado

Case number

Debtor1 Rodney A Long
First Name Middle Name Last Name

Debtor 2

(Spouse, if filing) First Name Middle Name Last Name

(If known)

Official Form 106Sum

Summary of Your Assets and Liabilities and Certain Statistical Information

vf
4

O) Check if this is an
amended filing

12/15

Be as complete and accurate as possible. If two married
information. Fill out all of your schedules first; then comp

your original forms, you must fill out a new Summary and check the box at the top of this page.

people are filing together, both are equally responsible for supplying correct
lete the information on this form. If you are filing amended schedules after you file

ERE Summarize Your Assets

4. Schedule A/B: Property (Official Form 106A/B)
: a. Copy line 55, Total real estate, from Schedule A/B

1b. Copy line 62, Total personal property, from Schedule A/B .cccccsscecssecssssscccsenssssscsnceeecesssessercnssessrensceesesenenseuaaaassascneaauensaeess

1c. Copy line 63, Total of all property on Schedule A/B

Your assets
Value of what you own

¢ 44,419.00

¢ 11,240.00

$ __ 55,659.00

Eo Summarize Your Liabilities

2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D............

i

3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)

Your liabilities
Amount you owe

5 __ 18,671.00

3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.......-sssssseceseseessneenneneeneaes $ 80,000.00
3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F viccccccesssescscssenscedneensesers +5 558,079.00
Your total liabilities $ 656,750.00
Summarize Your Income and Expenses
- 4. Schedule I: Your Income (Official Form 1061) 5000.00
Copy your combined monthly income from line 12 of Schedule |.....sssssssessessseeestmesassseeneeeennnssnnnceansrinratiiaetaassnnsnnne see §__ eee
. 5. Schedule J: Your Expenses (Official Form 106J)
Copy your monthly expenses from line 22c of SCHECUIG US ccscccsccsccessenscecsecsssscsuscessrsoneonsnneseveeesasnneeessesersensersanenataenececsutaneanesnee $ 5,186.00

Official Form 106Sum

Summary of Your Assets and Liabilities and Certain Statistical Information

page 1 of 2

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Debtor 1 Rodney A Long Case number (i known),

First Name Middle Name Last Name

Ez Answer These Questions for Administrative and Statistical Records

6. Are you filing for bankruptcy under Chapters 7, 11, or 137

Yes

CI No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

7. What kind of debt do you have?

Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,

family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 1

L) Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit

this form to the court with your other schedules.

59.

8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official

Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14. $ 5,000.00
9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F.
Total claim

From Part 4 on Schedule E/F, copy the following:

9a. Domestic support obligations (Copy line 6a.) $ 0.00

9b. Taxes and certain other debts you owe the government. (Copy line 6b.) $ 80,000.00

9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.) $ 0.00

9d. Student loans. (Copy line 6f.) $ 0.00

9e. Obligations arising out of a separation agreement or divorce that you did not report as $ 0.00

priority claims. (Copy line 6g.)
9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.) + $ 0.00
Qg. Total. Add lines 9a through 9f. $ 8,000.00
Official Form 106Sum Summary of Your Assets and Liabilities and Certain Statistical Information page 2 of 2

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PRR ICC CECE CUIAA mec E Lem ei ee

Debtor 4 Rodney A Long

First Name Middle Name Last Name
Debtor 2
(Spouse, if filing) First Name Middle Name Last Name
United States Bankruptcy Court for the: District of

Case number

Q) Check if this is an
amended filing

Official Form 106A/B
Schedule A/B: Property 1215

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number {if known). Answer every question.

a Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

C) No. Go to Part 2.
I Yes. Where is the property?

What is the property? Check all that apply. Do not deduct secured claims or.exemptions. Put

wW Single-family home the amount of any secured claims on Schedule D:

14. 2823 Vine St Creditors Who Have Claims Secured by Property.

Street address, if available, or other description

) Duplex or muiti-unit building

C1 Condominium or cooperative Current value of the Current value of the
C Manufactured or mobile home entire property? portion you own?
U) Land $ 691,419.00 $ 44,419.00
C) investment property

Denver CO 80205 QO) Timeshare Describe the nature of your ownership

City State ZIP Code OQ oth interest (such as fee simple, tenancy by

er the entireties, or a life estate), if known.

Who has an interest in the property? Check one.

Denver Wi Debtor 1 only

County LJ Debtor 2 only

() Debtor 1 and Debtor 2 only ) Check if this is community property
() At least one of the debtors and another (see instructions)
Other information you wish to add about this item, such as local

property identification number:

If you own or have more than one, list here:

What is the property? Check all that apply. Do not deduct secured claims or. exemptions. Put
O Single-family home the amount of.any secured claims on Schedule D:

1.2. _ oO Duplex or multi-unit building Creditors Who Have Claims Secured by Property.
Street address, if available, or other description Q
Condominium or cooperative Current value of the Current value of the
C]) Manufactured or mobile home entire property? portion you own?
C) tand $ $
C) investment property
. Describe the nature of your ownership
City State ZIP Code C1 Timeshare interest (such as fee simple, tenancy by
Q) other the entireties, or a life estate), if known.

Who has an interest in the property? Check one.
LI Debtor 1 only

County LL) Debtor 2 only
L) Debtor 1 and Debtor 2 only C) Check if this is community property
(J At least one of the debtors and another (see instructions)

Other information you wish to add about this item, such as local
property identification number:

Official Form 106A/B _ Schedule A/B: Property page 1
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Debtor 1 Rodney

First Name Middle Name

1.3.

Last Long

Street address, if available, or other description

What is the property? Check all that apply.
) Single-family home

t) Duplex or multi-unit building

C2 Condominium or cooperative

Case number (i known),

Do not deduct secured claims or exemptions, Put
the amount of any secured-claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the _

(J Manufactured or mobile home entire property? portion you own?
C) Land $ $
CD Investment property
City State ZIP Code 2 Timeshare Describe the nature of your ownership
interest (such as fee simple, tenancy by
O) Other the entireties, or a life estate), if known.
Who has an interest in the property? Check one.
LJ Debtor 4 only
County LI) Debtor 2 only
C] Debtor 1 and Debtor 2 only O Check if this is community property
C) At teast one of the debtors and another (see instructions)
Other information you wish to add about this item, such as local
property identification number:
2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages $ 44,419.00
you have attached for Part 1. Write that number here, .........0.:ccscccssssscusenereesauensaeneceenessnceusessueegeasseasurecnereasearsoes >

a Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

CI No
G Yes
3.1. Make: Volvo
Model: S40 2.4
Year: 2007
130000

Approximate mileage:

Other information:

If you own or have more than one, describe here:

3.2. Make: Honda
Model: Civic
Year: 2015

8700

Approximate mileage:

Other information:

Who has an interest in the property? Check one.

A Debtor 1 only

L) Debtor 2 only

C) Debtor 1 and Debtor 2 only

LJ At least one of the debtors and another

O) Check if this is community property (see
instructions)

Who has an interest in the property? Check one.
Debtor 1 only

L] Debtor 2 only

L] Debtor 1 and Debtor 2 only

CU] At least one of the debtors and another

C] Check if this is community property (see
instructions)

Do not deduct secured claims or exemptions, Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

$ 3,122.00 g 0.00

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

$ 12,131.00 ¢ 4,617.00 |

Official Form 106A/B

Schedule A/B: Property

page 2
Case:19-17941-KHT Doc#:2  Filed:09/1

1

Who has an interest in the property? Check one.

Debtor 1 Rodney A Long
First Nama Middle Name Last Name
3.3, Make: Audi
Model: A3 A Debtor 1 only
Year: 2007 UO Debtor 2 only
, 9100 L) Debtor 1 and Debtor 2 only

Approximate mileage:

Other information:

Make:
Model:

3.4.

Year:
Approximate mileage:

Other information:

(J At least one of the debtors and another

(1 check if this is community property (see
instructions)

Who has an interest in the property? Check one.

() Debtor 1 only

C2 Debtor 2 only

(2 Debtor 1 and Debtor 2 only

(2) At least one of the debtors and another

() Check if this is community property (see
instructions)

Case number (if known),

3/19 Entered:09/13/19 16:21:04 Page26 of 56

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

$ 6,983.00 ¢ 2,000.00

Do not deduct secured claims or exemptions. Put
the amount.of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

U No
QO Yes

Make:
Model:

4.1.

Year:

Other information:

If you own or have more than one, list here:

Make:
Model:

4.2.

Year:

Other information:

"5. Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
you have attached for Part 2. Write that number here

Who has an interest in the property? Check one.
CJ Debtor 1 only

C) Debtor 2 only

O Debtor 1 and Debtor 2 only

(2) At least one of the debtors and another

() check if this is community property (see
instructions)

Who has an interest in the property? Check one.
U] Debtor 1 only

CI Debtor 2 only

(] Debtor 1 and Debtor 2 only

U1 At least one of the debtors and another

() Check if this is community property (see
instructions)

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

6,617.00

Official Form 106A/B

Schedule A/B: Property

page 3

Case: 19-17941-KHT Doc#:2 Filed:09/13/19 Entered:09/13/19 16:21:04 Page27 of 56
Debtor 4 odney A Long

Case number (if known),

First Name Middle Name Last Name

Ca Describe Your Personal and Household Items

Do you: own or have any legal or equitable interest in any of the following items?

Current value of the
portion you own?
Do not deduct secured claims

or-exemptions.
6. Household goods and furnishings
Examples: Major appliances, furniture, linens, china, kitchenware
No 7. . . 2 . .
Yes. Describe......... Appliances, furniture, linens, kitchenware, microwave, patio furniture, grill $ 1,850.00
7. Electronics
Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
collections; electronic devices including cell phones, cameras, media players, games
UL) No
id Yes. Desoribe.......... 2 t.v.'s, stereo, laptop, cell phone $ 875.00
8. Collectibles of value ,
Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
i No :
C) Yes. Describe.......... $
9. Equipment for sports and hobbies
Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
and kayaks; carpentry tools; musical instruments
id No .
CL) Yes. Describe.......... $
10. Firearms
Examples: Pistols, rifles, shotguns, ammunition, and related equipment
W No
C) Yes. Describe.......... $
11. Clothes
Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
Cl No
4 Yes. Describe.......... Clothing, coats, shoes and accessories $ 988.00
12, Jewelry
Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
gold, silver
UL) No 750.00
iJ Yes. Describe.......... Wedding ring, watch $ :
13.Non-farm animals
Examples: Dogs, cats, birds, horses
id No
CQ) Yes. Describe.......... $
14. Any other personal and household items you did not already list, including any health aids you did not list
id No
C) Yes. Give specific $
information. ..........4.
15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached $ 4,463.00
for Part 3. Write that number here D>

Official Form 106A/B Schedule A/B: Property page 4
cod

Debtor 1 Rodney

A Long

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Case number (if known),

First Name

Middle Name Last Name

a Describe Your Financial Assets

Do you own or have any legal or equitable interest in any of the following? Current value of the

portion you.own?
Do not deduct secured claims

or.exemptions.
16.Cash
Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
L) No
Yes CASH! -ssnnnnen § 50.00
’ 17.Deposits of money
Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
and other similar institutions. If you have multiple accounts with the same institution, list each.
CQ) No
YOS woesecceeteerteeees Institution name:
47.4. Checking account: US Bank $ 110.00
17.2. Checking account: $
17.3. Savings account: $
17.4. Savings account: $
17.5. Certificates of deposit: $
17.6, Other financial account: $
17.7. Other financial account: $
47.8. Other financial account: $
17.9. Other financial account: $
18. Bonds, mutual funds, or publicly traded stocks
Examples: Bond funds, investment accounts with brokerage firms, money market accounts
UW No
CO Ves ese Institution or issuer name:
$
$

49, Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
an LLC, partnership, and joint venture

No
UO Yes. Give specific
information about

Name of entity:

% of ownership:

0%
0%
0%

Official Form 106A/B

Schedule A/B: Property page 5
3 Le
|

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Debtor 1 Rodney A Long Case number (if known)

First Name Middle Name Last Name

20. Government and corporate bonds and other negotiable and non-negotiable instruments

Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

No
C] Yes. Give specific  {ssuer name:
information about
{NOM ae ccsscstsecsessesees $
$
$

21. Retirement or pension accounts
Examples: Interests in IRA, ERISA, Keogh, 401 (k), 403(b), thrift savings accounts, or other pension or profit-sharing plans

No
O] Yes. List each
account separately. Type of account: Institution name:
401(k) or similar plan: $
Pension plan: $
IRA: $
Retirement account: $
Keogh: $
Additional account: $
Additional account: $
22. Security deposits and prepayments
Your share of all unused deposits you have made so that you may continue service or use from a company
Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
companies, or others
ia No
CD VES cocccscccsssscesseeesen Institution name or individual:
Electric: $
Gas: $
Heating oil: $
Security deposit on rental unit: $
Prepaid rent: $
Telephone: $
Water: $
Rented furniture: $
Other: $
23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
No
LD VES veccssssscsscscsssssseee Issuer name and description:
3
$
$

Official Form 106A/B Schedule A/B: Property page 6
qd - Set

Case:19-17941-KHT Doc#:2 Filed:09/13/19 Entered:09/13/19 16:21:04 Page30 of 56

Debtor 1 Rodney A Long Case number (i known),
First Name Middle Name Last Name

24, Interests In an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).

Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
exercisable for your benefit

UW No

C) Yes. Give specific
information about them....

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
Examples: Internet domain names, websites, proceeds from royalties and licensing agreements

No
LI Yes. Give specific

information about them.... $
27. Licenses, franchises, and other general intangibles
Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
No
Cl) Yes. Give specific |
information about them.... $
Money or property owed to you? Current value of the
portion you own?
Do not deduct secured i

claims or exemptions.

28. Tax refunds owed to you
No
UL Yes. Give specific information
about them, including whether

you already filed the returns State:
and the tax years. ....ccessecescce

Federal: $

Local:

29. Family support |
Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement

i No

Cl) Yes. Give specific information..............
Alimony: $ i
Maintenance: $ |
Support: $
Divorce settlement: $
Property settlement: $

30. Other amounts someone owes you
Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
Social Security benefits; unpaid loans you made to someone else
No
C) Yes. Give specific information..............
$

Official Form 106A/B Schedule A/B: Property page 7
Case:19-17941-KHT Doc#:2 Filed:09/13/19 Entered:09/13/19 16:21:04 Page31 of56

Debtor 1 Rodney A Long Case number (if known),
First Name Middle Name Last Nama

31. Interests in insurance policies
Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter’s insurance

UW No

OQ) Yes. Name the insurance company —_ Company name: Beneficiary: Surrender or refund value:
of each policy and list its value. ...

32. Any interest in property that is due you from someone who has died
If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
property because someone has died.

4 No

L) Yes. Give specific information............. |

33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
Examples: Accidents, employment disputes, insurance claims, or rights to sue

No
(J Yes. Describe each claim... |

34, Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
to set off claims

i No

C) Yes. Describe each claim. ........ecc

35, Any financial assets you did not already list

No
() Yes. Give specific information............ $

36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached

for Part 4. Write that number here en > $ 160.00

oe Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37.Do you own or have any legal or equitable interest in any business-related property?
id No. Go to Part 6.
L) Yes. Go to line 38.

Current value of the
portion you own?

Do not deduct secured claims
or exemptions.

38. Accounts receivable or commissions you already earned

(No
C) Yes. Describe.......

39. Office equipment, furnishings, and supplies
Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices

O No
L) Yes. Desoribe....... '5

Official Form 106A/B Schedule A/B: Property page 8
Case:19-17941-KHT Doc#:2 Filed:09/13/19 Entered:09/13/19 16:21:04 Page32 of 56
Debtor 1 Rodney A Long Case number (if known),

First Name Middle Name Last Name

40.Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

LJ No
C) Yes. Describe.......

41.Inventory
UL] No
Oy. |
es. Describe....... $

42. Interests in partnerships or joint ventures

UC] No

C1 Yes. Describe....... Name of entity: % of ownership:
% $
%
% $

<A

43. Customer lists, mailing lists, or other compilations
OQ) No
U) Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?

C] No
C] Yes. Describe........

44. Any business-related property you did not already list
OQ) No

LJ Yes. Give specific
information .........

fF Ff Ff FF FF

45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached $ 0.00
for Part 5. Write that number here »>

Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
If you own or have an interest in farmland, list it in Part 1.

46.Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?

Wf No. Go to Part 7.
QO) Yes. Go to line 47.

Current-value of the
portion you.own?

Do not deduct secured claims

or exemptions.
. 47, Farm animals
Examples: Livestock, poultry, farm-raised fish
Cl No
DD Ve oo ecssssssssssenssse
$

Official Form 106A/B Schedule A/B: Property page 9

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Debtor 1 Rodney A Long Case number (i known)
First Name Middle Name Last Name

48. Crops—either growing or harvested

(J No

LI Yes. Give specific
information. ............. $

49, Farm and fishing equipment, implements, machinery, fixtures, and tools of trade

LI No
CO Ves oc cessssteeeeeee
$
50. Farm and fishing supplies, chemicals, and feed
UL} No
CD VeS oc eessesssessseeees
$
- §1. Any farm- and commercial fishing-related property you did not already list
L) No
C) Yes. Give specific
information. ............ $
. 52, Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached $ 0.00
for Part 6. Write that number here >
Describe All Property You Own or Have an Interest in That You Did Not List Above
: 53, Do you have other property of any kind you did not already list?
Examples: Season tickets, country club membership
No
Q) Yes. Give specific $
information............. $
54. Add the dollar value of all of your entries from Part 7. Write that number here > $
List the Totals of Each Part of this Form
55. Part 1: Total real estate, line 2 > $ 44,419.00
56. Part 2: Total vehicles, line 5 $ 6,617.00
57. Part 3: Total personal and household items, line 15 $ 4,463.00
58. Part 4: Total financial assets, line 36 $ 160.00
59. Part 5: Total business-related property, line 45 $
60. Part 6: Total farm- and fishing-related property, line 52 $
61. Part 7: Total other property not listed, line 54 +s
62. Total personal property. Add lines 56 through 61. ........sse $ 11,240.00 Copy personal property total > +¢ 11,240.00

63. Total of all property on Schedule AIB. Add line 55 + lin@ G2.c.ccccccccccossscssssscssssssecssssssssessnssssssevsssssessneassnessusnssesssse $ 95,659.00

wl

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TMU eM ieee cliClem Com CoCc iim elmer CI-b

Debtor 4 Rodney A Long
First Name Middle Name Last Name
Debtor 2
(Spouse, if filing) First Name Middle Name Last Name
United States Bankruptcy Court for the: District of Colorado [|
Case number QI Check if this is an
(known) amended filing

Official Form 106C
Schedule C: The Property You Claim as Exempt 04/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.

aa Identify the Property You Claim as Exempt

1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
U] You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

Brief.description of the property. and line on | Current value of the Amount of the exemption you claim Specific laws that allow exemption

Schedule A/B that lists this property portion you own
Copy the value from Check only one box for.each exemption.
Schedule A/B
sccnription, -Real Estate $44,419.00 Ds C.R.S. 38-41-201
Line from 1 100% of fair market value, up to
Schedule A/B: 1.1 any applicable statutory limit
Brief : C.R.S. 13-54-102
description: Automobile $0.00 a $
. 100% of fair market value, up to
Line fi 34 ’
Schedule A/B: any applicable statutory limit
Brief : C.R.S. 13-54-102
description: Automobile $4,617.00 Os
Line from 100% of fair market value, up to
Schedule A/B: 3.2 any applicable statutory limit

3. Are you claiming a homestead exemption of more than $170,350?
(Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)

W no

C) Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
C} No
CJ Yes

Official Form 106C Schedule C: The Property You Claim as Exempt page 1 of __

Case:19-17941-KHT Doc#:2 Filed:09/13/19 Entered:09/13/19 16:21:04 Page35 of 56

Rodney A

First Name Middle Name

eg veseonat Page

Debtor 1 Long Case number (known)

Last Name

Current value of the Specific laws that allow exemption

portion you.own

Brief description ofthe property and line Amount of the exemption you claim

on Schedule A/B that lists this property

Copy the vaiue from Check only one box for each exemption
Schedule A/B

Brief : C.R.S. 13-54-102
description: Automobile $ 2,000.00 is
Line from 33 Wf 100% of fair market value, up to
Schedule A/B: any applicable statutory limit

i C.R.S. 13-54-102
Brief ation; Household Goods _—$ 1,850.00 O¢
Line from yd 100% of fair market value, up to
Schedule A/B: 6 any applicable statutory limit

i : C.R.S. 13-54-102
ie otion: Electronics $ 875.00 Os
Line from 7 Wf 100% of fair market value, up to
Schedule A/B: ~— any applicable statutory limit

i : C.R.S. 13-54-102
Hosatiption: Clothing $ 988.00 O¢
Line from 11 1 100% of fair market value, up to
Schedule A/B: any applicable statutory limit

i C.R.S. 13-54-102
deecripton: Jewelry $ 750.00 Os
Line from Wf 100% of fair market value, up to
Schedule A/B: 42 any applicable statutory limit
Brief
description: $ Os
Line from CI 100% of fair market value, up to
Schedule A/B: ~ any applicable statutory limit
Brief
description: $ Os
Line from C] 100% of fair market value, up to
Schedule A/B: any applicable statutory limit
Brief
description: $ Os
Line from (3 100% of fair market value, up to
Schedule A/B: ——— any applicable statutory limit
Brief
description: $ Os
Line from LI 100% of fair market value, up to
Schedule A/B: ~~ any applicable statutory limit
Brief
description: $ Os
Line from LJ 100% of fair market value, up to
Schedule A/B: any applicable statutory limit
Brief
description: $ Os
Line from U2 100% of fair market value, up to
Schedule A/B: ———— any applicable statutory limit
Brief
description: $ Os
Line from LJ 100% of fair market value, up to
Schedule AB: any applicable statutory limit

Official Form 106C

Schedule C: The Property You Claim as Exempt

page 2. of

Case:19-17941-KHT Doc#:2

IMAM AEMUiiecLicele mom eC A a Cell mer: Rien

Debtor 1 Rodney A Long
First Name Middle Name Last Name

Debtor 2

(Spouse, if filing) First Name Middle Name Last Name

United States Bankruptcy Court for the: District of Colorado

Case number
(If known)

Official Form 106D

Schedule D: Creditors Who Have Claims Secured by Property

Filed:09/13/19 Entered:09/13/19 16:21:04

od

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CJ Check if this is an
amended filing

12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any

additional pages, write your name and case number (if known).

1. Do any creditors have claims secured by your property?

UO) No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.

uw Yes. Fill in all of the information below.

ie List All Secured Claims

Column A Column B Column C
2. List.all secured claims. If a creditor has more than one secured claim, list the creditor separately Amount ofclaim Value of collateral Unsecured
for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. 4 not deduct the that supports this _ portion
As much as possible, list the claims in alphabetical order according to the creditor's name. value of collateral. claim if any
[ 2.1 Denver Community Credit Union Describe the property that secures the claim: $ 6,174.00 ¢ 4454-00, -2,020.00-
Creditors Name 3[3+.09 2053-00
1075 Acoma St 2007 Volvo
Number Street
As of the date you file, the claim is: Check ail that apply.
Q Contingent
City State ZIP Code QQ) Disputed
Who owes the debt? Check one. Nature of lien. Check all that apply.
ff Debtor 1 only @ Anagreement you made (such as mortgage or secured
C) Debtor 2 only car loan)
2 Debtor 1 and Debtor 2 only CI Statutory lien (such as tax lien, mechanic's lien)
C) Atleast one of the debtors and another CL) Judgment lien from a lawsutt
CD Other (including a right to offset)
QO) Check if this claim relates to a
community debt
Date debt was incurred 08/08/201 Last 4 digits of account number 6 3 6 6
| 2.2} Partner Colorado Credit Union Describe the property that secures the claim: $ 12,497.00 $ 19,114.00 $ 0.00
Creditor's Name .
5269 W 62nd Ave SODe mednag
Number Street ual
As of the date you file, the claim is: Check ail that apply.
° Q Contingent
Arvada CO 80003  Unliquidated
City State ZIP Code Q disputed
Who owes the debt? Check one. Nature of lien. Check all that apply.
ff Debtor 1 only @ An agreement you made (such as mortgage or secured
CY Debtor 2 only car loan)
C) Debtor 4 and Debtor 2 only C1 Statutory lien (such as tax lien, mechanic's lien)
CJ Atleast one of the debtors and another {2} Judgment lien from a lawsuit
CJ Other (including a right to offset)
Q) Check if this claim relates to a
community debt
. _Date debt \ wasincurred Last 4 digits 3 of account nambet. Ye 4 = Ss 3)
Add the dollar-value of your entries in Column A on this pag er here: 18,671 a0}

Official Form 106D

Schedule D: Creditors Who Have Claims Secured by Property

page 1of_
ooh

Case:19-17941-KHT Doc#:2 Filed:09/13/19  Entered:09/13/19 16:21:04 ‘Page37 of 56

Rodney

Debtor 1

Long

First Name Middle Name

Last Name

Case number (known)

by 2.4, and so forth.

After listing any entries on this page, number them beginning with 2.3, followed

Column A Column B

Amount of claim Value of collateral
Do notdeductthe __ that supports this
value of collateral. claim

Specialized Loan Servicing

Creditors Name

Describe the property that secures the claim:

¢ 635,266.00 , 691,419.00,

Column C

Unsecured
portion

Ifany.

0.00

Number Street

8742 Lucent Blvd, #300

Residential Real Estate 1st and 2nd Mtg

Highlands Ranch CO 80129

State ZIP Code

City

Who owes the debt? Check one.

& Debtor 1 only

(] Debtor 2 only

(2 Debtor 1 and Debtor 2 only

UO) Atleast one of the debtors and another

(] Check if this claim relates toa
community debt

4 02/05/201€

Date debt was incurre:

As of the date you file, the claim is: Check ail that apply.

CQ Contingent

C) unliquidated

C) bisputed

Nature of lien. Check all that apply.

Wan agreement you made (such as mortgage or secured
car loan)

U Statutory lien (such as tax lien, mechanic’s lien)

(2 Judgment lien from a lawsuit

UO Other (including a right to offset)

Last 4 digits of account number _ 1. 6 1 A

LJ

Creditors Name

Describe the property that secures the claim:

Number Street

City State ZIP Code

Who owes the debt? Check one.

U] Debtor 4 only

Q) Debtor 2 only

U] Debtor 1 and Debtor 2 only

C) Atleast one of the debtors and another

QC) Check if this claim relates to a
community debt

Date debt was incurred

As of the date you file, the claim is: Check ail that apply.

(J Contingent

C2 Untiquidated

C) Disputed

Nature of lien. Check all that apply.

An agreement you made (such as mortgage or secured
car loan)

Q Statutory lien (such as tax lien, mechanic's lien)

O) Judgment lien from a lawsuit

(2 Other (including a right to offset)

Last 4 digits of account number =

LJ

Creditors Name

Describe the property that secures the claim:

Number Street

State ZIP Code

City
Who owes the debt? Check one.

C) Debtor 4 only

(1 Debtor 2 only

Q) Debtor 1 and Debtor 2 only

L) Atleast one of the debtors and another

QU Check if this claim relates to a
community debt

Date debt was incurred

As of the date you file, the claim is: Check all that apply.

U Contingent

QO Unliquidated

QO Disputed

Nature of lien. Check all that apply.

(2 An agreement you made (such as mortgage or secured
car loan)

U2 Statutory lien (such as tax lien, mechanic's lien)

Judgment lien from a lawsuit

C2 Other (including a right to offset)

Last 4 digits of account number

Add ‘the dollar value of your entries in Column A on this page. Write that number here: $

635,266.00

If this is the last page of your form, add the dollar value totals from all pages.
Write that number here: s

653,937.00}

Official Form 106D

Additional Page of Schedule D: Creditors Who Have Claims Secured by Property

page. of

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1

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TUR CRIC CHC COR CL a Cole met od

Debtor 4 Rodney A Long
First Name Middle Name Last Name
Debtor 2
(Spouse, if filing) First Name Middle Name Last Name
United States Bankruptcy Court for the: District of Colorado [-|
Case number Q) Check if this is an
a :
(if known) amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims 42115

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims.
List the other party to any executory contracts or unexpired leases that could result inaclaim. Also list executory contracts on Schedule
A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any
creditors with partially secured claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. \f more space is
needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of
any additional pages, write your name and case number (if known).

List All of Your PRIORITY Unsecured Claims

4. Do any creditors have priority unsecured claims against you?
CI No. Go to Part 2.
Yes.

_ 2. List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For
each claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and
nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor's name. If you have more than two priority
unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.

(For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)

Total claim Priority Nonpriority
amount amount
2.1 .
Internal Revenue Service Last 4 digits of account number 4 4 8 5 $ 80,000.00 $30,000.00 $
Priority Creditors Name — —
P.O. Box 7704 When was the debt incurred? 12/31/2015
Number Street
- As of the date you file, the claim is: Check all that apply.
San Francisco CA 94120 CO contingent
City Stale ZIP Code ontingen
C} Unliquidated
Who incurred the debt? Check one. O) disputed
Debtor 1 only
C} Debtor 2 only Type of PRIORITY unsecured claim:
4 Debtor 1 and Debtor 2 only {) Domestic support obligations
At least one of the debtors and another @ taxes and certain other debts you owe the government
CI Check if this claim is for a community debt () Claims for death or personal injury while you were
Is the claim subject to offset? intoxicated
DO No 2 Other. Specify
C) Yes
p2 | Last 4 digits ofaccountnumber $ $
i Priority Creditor's Name
When was the debt incurred?
Number Street
As of the date you file, the claim is: Check all that apply.
(2 Contingent
City Stale ZIP Code CY unliquidated
Who incurred the debt? Check one. 1 Disputed

(2 Debtor 1 only

QO) Debtor 2 only

(J Debtor 1 and Debtor 2 only

LI At least one of the debtors and another

Type of PRIORITY unsecured claim:

C1 Domestic support obligations

O Taxes and certain other debts you owe the government
(2 Claims for death or personal injury while you were

C) Check if this claim is for a community debt intoxicated

Is the claim subject to offset? OQ) other. Specify
Cl No

CU) Yes

Official Form 106E/F Schedule E/F: Creditors Who Have Unsecured Claims page 1 of

Debtor 4

ee = All of Your NONPRIORITY Unsecured Claims

' 3. Do any creditors have nonpriority unsecured claims against you?

Rodney A

First Name Middle Name

Last Name

y

Case:19-17941-KHT Doc#:2 Filed:09/13/19 Entered:09/13/19 16:21:04 Page39 of 56
Long

Case number (if known)

[) No. You have nothing to report in this part. Submit this form to the court with your other schedules.

Yes
4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
: nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim: it is. Do not list claims already
included in:Part 1..If more than one creditor holds a particular.claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
claims fill out the Continuation Page of Part 2.
Total claim
fa] Capital One Last 4 digits of account number_/ 8 O 5_ 2250.00
Nonpriority Creditors Name $s eee
45000 Capital One Drive When was the debt incurred? 11/12/2017
Number Street
Richmond VA 23238
City State ZIP Code As of the date you file, the claim is: Check all that apply.
Q Contingent
Who incurred the debt? Check one. LJ Untiquidated
Debtor 1 only C) Disputed
C) Debtor 2 only
U2 Debtor 1 and Debtor 2 only Type of NONPRIORITY unsecured claim:
C) At least one of the debtors and another C Student loans
: () Check if this claim is for a community debt (2 Obligations arising out of a separation agreement or divorce
: that you did not report as priority claims
: Is the claim subject to offset? (J Debts to pension or profit-sharing plans, and other similar debts
QO) No W@ other. Specify
UO) Yes
4.2 | Discover Financial Services Last 4 digits of accountnumber_1 1 4 9 s___ 12,500.00
Nonpriority Creditor's Name When was the debt incurred? 06/01/2019
P.O. Box 15316
Number Street
Wilmington DE 19850 As of the date you file, the claim is: Check all that apply.
Clty State ZIP Code CO Contin gent
Who incurred the debt? Check one. O) Unliquidated
Debtor 1 only O Disputed
Q) Debtor 2 only .
() Debtor 4 and Debtor 2 only Type of NONPRIORITY unsecured claim:
U) At feast one of the debtors and another C) Student loans
ae _. u Obligations arising out of a separation agreement or divorce
UL) Check if this claim is for a community debt that you did not report as priority claims
Is the claim subject to offset? C) Debts to pension or profit-sharing plans, and other similar debts
UO No C) other. Specify
QO) Yes
43 _| Fitzsimons Federal Credit Union Last 4 digits of account number _3 _3 4 3. 4.000.00
Nonpriority Creditors Name / 41/12/2018 $a
os When was the debt incurred? :
2201 N Fitzsimons Pkwy _
Number Street
Aurora co 80045 : .
Ciy Sule FP Gade As of the date you file, the claim is: Check all that apply.
Who incurred the debt? Check one. QO Contingent
iw QO Unliquidated
Debtor 1 only oO Disputed
C] Debtor 2 only
Q) Debtor 1 and Debtor 2 only Type of NONPRIORITY unsecured claim:
(2 Atleast one of the debtors and another
Q) Student loans
LL] Check if this claim is for a community debt (2 Obligations arising out of a separation agreement or divorce
. . that you did not report as priority claims
Ow claim subject to offset? C] Debts to pension or profit-sharing plans, and other similar debts
° @ Other. Specify
7 O-Yes
Official Form 106E/F Schedule E/F: Creditors Who Have Unsecured Claims page of

Debtor 1

Rodney

Case:19-17941-KHT Doc#:2 Filed:09/13/19 Enter
A Long

First Name Middle Name Last Name

sae

Case number (if known)

ed:09/13/19 16:21:04 Page4od of 56

Eo Your NONPRIORITY Unsecured Claims — Continuation Page

After listing any entries on this page, number .them beginning with 4.4, followed by 4.5, and so forth. Total claim
4.4 + Uni Last 4 digits of ber 6 2 3 8
Navy Federal Credit Union ast 4 digits ofaccount number © <9 0 ¢ 14,870.00
Nonpriority Creditors Name 0. 4. /05 /201 9
Wh is the debt in d?
P.O. Box 3700 enwa cures
Number Street . ee
Merrifield VA 22119 As of the date you file, the claim is: Check all that apply.
Ciy State ZiP Code CJ Contingent
Q) Untiquidated
Who incurred the debt? Check one. Disputed
a Debtor 1 only
C3 Debtor 2 only Type of NONPRIORITY unsecured claim:
(3 Debtor 1 and Debtor 2 only 2 Student toans
C1 At east one of the debtors and another Q) Obligations arising out of a separation agreement or divorce that
C) Check if this claim is for a community debt you did not report as priority claims .
QO) Debts to pension or profit-sharing plans, and other similar debts
Is the claim subject to offset? @ other. Specify
OQ) No
O Yes
4.5 igi 44 5 3 21 217.00
Partner Colorado Credit Union Last 4 digits of account number 4 4 9 9 g2Zl, .
Nonpriority Creditor's Name
When was the debt incurred? 02/01/2019
5269 W 62nd Ave OO
Number Street
. As of the dat u file, the claim is: Check all that apply.
Arvada co 80003 late you fi claim is: eck all that apply.
City State ZIP Code OQ Contingent
() Unliquidated
Who incurred the debt? Check one. ( Disputed
if Debtor 1 only
C) Debtor 2 only Type of NONPRIORITY unsecured claim:
4 Debtor 1 and Debtor 2 only 0 Student loans
At least one of the debtors and another oO Obligations arising out of a separation agreement or divorce that ‘
ie éht we . did not report as priority claims |
CJ Check if this claim is f community debt you
: eek tins © istorac y 1 Debts to pension or profit-sharing plans, and other similar debts
: Is the claim subject to offset? Wf other. Specify.
UO No
C) Yes
: \ L 1 09F,
6 448 5 3 160-99
Cherise Smith Last 4 digits ofaccount number 4 & O 0
Nonpriority Creditors Name
When was the debt incurred? 07/01/2019
4243 Flanders ———_|
: Number Street
: As of the date you file, the claim is: Check all that apply.
Green Valley Ranch co 80249 $ or ine date you ile, te claim is: Knock aver apey
Gity State ZIP Gode OQ Contingent
Q) unliquidated
Who incurred the debt? Check one. Q Disputed
2 Debtor 1 only
CI Debtor 2 only Type of NONPRIORITY unsecured claim:
CI Debtor 1 and Debtor 2 only 2 Student loans
! Cd Atleast one of the debtors and another QO Obligations arising out of a separation agreement or divorce that
: C) Check if this claim is for a community debt you did not report as priority claims
: O) Debts to pension or profit-sharing plans, and other similar debts
: Is the claim subject to offset? @ other. Specify
ud No
CI Yes
Official Form 106E/F Schedule E/F: Creditors Who Have Unsecured Claims page of

Debtor 1

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Rodney A Long

First Name Middle Name Last Name

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Case number (if known),

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Your NONPRIORITY Unsecured Claims — Continuation Page

Who incurred the debt? Check one.

Wd Debtor 4 only

CI Debtor 2 only

(J Debtor 1 and Debtor 2 only

(CI At least one of the debtors and another

() Check if this claim is for a community debt

Is the claim subject to offset?

C) No
C) Yes

OQ Unliquidated
QO Disputed

Type of NONPRIORITY unsecured claim:

CJ Student loans

Q) Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

U) Debts to pension or profit-sharing plans, and other similar debts
© Other. Specify

After listing any entries on this page, number them beginning with 4.4, followed by 4,5, and so forth. Total claim
47 vo
Abrams Sullenberg Silver LLC Last 4 digits of account number 1 5 8 8 5 7,437.00
Nonpriority Creditor's Name 01 /26 /20 49 i
b
700 17th St, #650 When was the debt incurred?
Number Street . ee,
( Denver co 80202 As of the date you file, the claim is: Check all that apply.
City State ZIP Code (2 Contingent
C) unliquidated
Who incurred the debt? Check one. Q) Disputed
@ Debtor 4 only
C) Debtor 2 only Type of NONPRIORITY unsecured claim:
() Debtor 1 and Debtor 2 only (0 Student loans
C1) Atleast one of the debtors and another O Obligations arising out of a separation agreement or divorce that
C) Check if this claim is for a community debt you did not report as priority claims .
(CJ Debts to pension or profit-sharing plans, and other similar debts
Is the claim subject to offset? @ other. Specify
OQ No
OC) Yes
4.8 ig 378 1 99,014.00
The Brett Beattie Law Firm, LLC Last 4 digits of accountnumber 9 ff) OF I guy, .
Nonpriority Creditor's Name
When was the debt incurred? 07/04/2019
7200 S Alton Way, #A-210 ——_
be St
Centennial rect CO 80112 As of the date you file, the claim is: Check all that apply.
City State ZIP Code a Contingent
CJ Unliquidated
Who incurred the debt? Check one. J Disputed
Debtor 1 only
C) Debtor 2 only Type of NONPRIORITY unsecured claim:
4 Debtor 1 and Debtor 2 only CO Student toans
At least one of the debtors and another O Obligations arising out of a separation agreement or divorce that
eau: oe . you did not report as priority claims
Check if this cl fe ity debt
C1 Cheek if this claim is for a community de C2 debts to pension or profit-sharing plans, and other similar debts
Is the claim subject to offset? @ other. Specify
CO No
QO) Yes
9 1458 $20,000.00
The Culpepper Law Firm P.C Last 4 digits of account number | 4 9 0
Nonpriority Creditor’s Name
When was the debt incurred? 07/19/2019
1900 Grant St, #1110 _—_
N Street
Denver ree co 80203 As of the date you file, the claim is: Check all that apply.
City State ZIP Code LI Contingent

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims

page

of

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pebtor1 Rodney A Long

First Name Middle Name Last Name

Case number (if known),

Your NONPRIORITY Unsecured Claims — Continuation Page

t
{

After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth. Total claim
5.0 ’ i ; Last 4 digits of account number 4 48 5
Foster, Graham, Milstein, Calisher 9 24 9 2. 363,692.00
Nonpriority Creditors Name 07 10 4 /201 9
. When was the debt incurred?
360 S Garfield St, #600 oOo
Number Street . sa
Denver, co 80209 As of the date you file, the claim is: Check all that apply.
City State ZIP Code ) Contingent
(J Unliquidated
Who incurred the debt? Check one. ©) Disputed :
id Debtor 1 only
U Debtor 2 only Type of NONPRIORITY unsecured claim:
C) Debtor 1 and Debtor 2 only C2 Student toans
U) Atleast one of the debtors and another QO Obligations arising out of a separation agreement or divorce that
te eht woo . did not report as priority claims
(2) Check if this claim is for a community debt you
' y C) Debts to pension or profit-sharing plans, and other similar debts
is the claim subject to offset? C) other. Specify
QC) No
C) Yes
Last 4 digits of account number $
Nonpriority Creditors Name
When was the debt incurred?
Street
Number ree As of the date you file, the claim is: Check all that apply. i
Gily State ZIP Code L Contingent
O) unliquidated
Who incurred the debt? Check one. ©) Disputed
C) Debtor 1 only
C) Debtor 2 only Type of NONPRIORITY unsecured claim:
QO] Debtor 4 and Debtor 2 only C2 Student loans
U1 Atleast one of the debtors and another QO Obligations arising out of a separation agreement or divorce that
te abt eG . you did not report as priority claims
Check if this cl is for a community debt
O Check if this claim i a ty (J Debts to pension or profit-sharing plans, and other similar debts
Is the claim subject to offset? U) other. Specify
C No
C] Yes
L_| - $
Last 4 digits of account number
Nonpriority Creditor's Name
When was the debt incurred?
treet
Number Stree As of the date you file, the claim is: Check all that apply.
City State ZIP Code Contingent i
C) unliquidated L
Who incurred the debt? Check one. ©) Disputed
0) Debtor 4 only '
O Debtor 2 only Type of NONPRIORITY unsecured claim:
C) Debtor 1 and Debtor 2 only U Student loans
CJ Atleast one of the debtors and another (1 Obtigations arising out of a separation agreement or divorce that
C) Cheek if this claim is for a community debt you did not report as priority claims a i
() Debts to pension or profit-sharing plans, and other similar debts !
Is the claim subject to offset? C] other. Specify
C) No
C) Yes
Official Form 106E/F Schedule E/F: Creditors Who Have Unsecured Claims page of
Debtor 1

A Long

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“Case:19-17941-KHT Doc#:2 Filed:09/13/19 Entered:09/13/19 16:21:04 Page43 of 56
Rodney

Case number (if known)

First Name

Middte Name

Last Name

ee Others to Be Notified About a Debt That You Already Listed

| 5, Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For

i example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or

| 2, then list the collection agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the
| additional creditors here. If you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.

On which entry in Part 1 or Part 2 did you list the original creditor?

Name
Line of (Check one): UI Part 1: Creditors with Priority Unsecured Claims
Number Street (J Part 2: Creditors with Nonpriority Unsecured Claims
Last 4 digits of accountnumber
City State ZIP Code
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): CO) Part 4: Creditors with Priority Unsecured Claims
Number Street () Part 2: Creditors with Nonpriority Unsecured
Claims
Last 4 digits of account number
City State ZIP Code
On which entry in Part 1 or Part 2 did you fist the original creditor?
Name
Line of (Check one): O) Part 1: Creditors with Priority Unsecured Claims
Number Street () Part 2: Creditors with Nonpriority Unsecured
Claims
Last 4 digits of account number_—
City State ZIP Code
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): O) Part 1: Creditors with Priority Unsecured Claims
Number Street U Part 2: Creditors with Nonpriority Unsecured
Claims
Last 4 digits of accountnumber_
City State ZIP Code
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): UL] Part 1: Creditors with Priority Unsecured Claims
Number Street () Part 2: Creditors with Nonpriority Unsecured
Claims
Last 4 digits of accountnumber_
City State ZIP Code
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): O Part 1: Creditors with Priority Unsecured Claims
Number Street U Part 2: Creditors with Nonpriority Unsecured
Claims
Last 4 digits of accountnumber_
City State ZIP Code
7 On which entry in Part 1 or Part 2 did you list the original creditor?
ame
Line of (Check one): C] Part 1: Creditors with Priority Unsecured Claims
Number Street (1 Part 2: Creditors with Nonpriority Unsecured
Claims
- ts of account number
City State ZIP Code Last 4 digt —_
Official Form 106E/F Schedule E/F: Creditors Who Have Unsecured Claims page of

Add the Amounts for Each Type of Unsecured Claim

Total claims
| from Part 2

|

Total claims
from Part 1

a

Case:19-17941-KHT Doci#:2 Filed:09/13/19 Entered:09/13/19 16:21:04 Page44 of 56
Debtor1 | Rodney A Long

First Name Middle Name Last Name

Case number (i known),

4

Add the amounts for each type of unsecured claim.

6a. Domestic support obligations

government

6c. Claims for death or personal injury while you were

intoxicated

6b. Taxes and certain other debts you owe the

6d. Other. Add all other priority unsecured claims.

Write that amount here.

6e. Total. Add lines 6a through 6d.

6f. Student loans

claims

6h. Debts to pension or profit-sharing plans, and other

similar debts

6i. Other. Add all other nonpriority unsecured claims.

Write that amount here.

6j. Total. Add lines 6f through 6i.

6g. Obligations arising out of a separation agreement
or divorce that you did not report as priority

6a.

6b.

6c.

6d.

6e.

6f.

6g.

6h.

6i.

Gj.

Total claim
$ 0.00
§ 80,000.00
$ 0.00
+5 0.00
$ 80,000.00
Total claim
$ 0.00
§ 0.00
5 0.00
+ 558,079.00
$ 638,079.00

6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims

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of

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Debtor Rodney A Long
First Name Middle Name Last Name
Debtor 2
(Spouse if filing) First Name Middle Name Last Name
United States Bankruptcy Court for the: District of Colorado [=]
Case number papas
(if known) C) Check if this is an
amended filing

Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases 12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct

information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1. Do you have any executory contracts or unexpired leases?
i No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
C] Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 406A/B).

2. List separately each person or company with whom you have the contract or lease, Then state what each contract or lease is for (for

example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
unexpired leases.

Person or company with whom you have the contract or lease State what the contract or lease is for

Name

Number Street

City State ZIP Code

2.2

Name

Number Street

City State ZIP Code

2.3)

Name

Number Street

City State ZIP Code

24

Name

Number Street

City State ZIP Code

Name

Number Street

City State ZIP Code

Official Form 106G Schedule G: Executory Contracts and Unexpired Leases page 1 of
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SMM UCM CCIM Omaha (ene lmer tiem

Case:19-17941-KHT Doc#:2 Filed:09/13/19

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Entered:09/13/19 16:21:04 Paged4é of 56

i

Debtor 4 Rodney A Long
First Name Middle Name Last Name

Debtor 2

(Spouse, if filing) First Name Middle Name Last Name

United States Bankruptcy Court for the: District of Colorado

Case number
(If known)

Q) Check if this is an

Official Form 106H
Schedule H: Your Codebtors

amended filing

12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people
are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out,
and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and

case number (if known). Answer every question.

| 4. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)

No
O) Yes

2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

W No. Go to line 3.

UO No

C) Yes. in which community state or territory did you live?

U) Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?

. Fill in the name and current address of that person.

Name of your spouse, former spouse, or legal equivalent

Number Street

City State

Schedule E/F, or Schedule G to fill out Column 2.

Column 1: Your .codebtor

ZIP Code

3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person
shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on
Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D,

Column 2: The creditor.to whom you owe the debt

Check all schedules that apply:

3.1
CQ Schedule D, line
Name eo
(2 Schedule E/F, line
Number Street U Schedule G, line
City ost opentunvanranne ___.. State ZIP Code
3.2
U) Schedule D, line
Name
(2 Schedule E/F, line
Number Street CJ Schedule G, line
__Gity coe tna tate ZipCode.
3.3
C) Schedule D, line
Name ——
() Schedule E/F, line
Number Street C) Schedule G, line
CI et ctnen  AEE nts une wnmndlP Code

Official Form 106H

Schedule H: Your Codebtors page 1 of

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TT MIM CMIAceleticiCoemcem(s SLA me ZoLe UM etc

(Spouse, if filing) First Name

United States Bankruptcy Court for the: District of Colorado

Case number

Debtor 1 Rodney A Long
First Name Middis Name Last Name
Debtor 2
Middle Name Last Name

(If known)

Official Form 1061
Schedule I: Your Income

Check if this is:
C) An amended filing

CJ A supplement showing postpetition chapter 13
income as of the following date:

MM / DD/ YYYY

12/15

Be as complete and accurate as possible. if two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for

supplying correct information. If you are married and not filing joi

ntly, and your spouse is living with you, include information about your spouse.

If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

FEE Describe Employment

4. Fillin your employment
information.

If you have more than one job,
attach a separate page with
information about additional
employers.

Employment status

Include part-time, seasonal, or
self-employed work.

Occupation
Occupation may include student P

or homemaker, if it applies.
Employer’s name

Employer's address

Give Details About Monthly Income

Debtor.1 Debtor .2 or non-filing spouse
C] Employed ) Employed
UW Not employed L) Not employed
Self Employed

Number Street

Number Street

City

How long employed there?

State

ZIP Code

City State ZIP Code

spouse unless you are separated.

3. Estimate and list monthly overtime pay.

4, Calculate gross income. Add line 2 + line 3.

2. List monthly gross wages, salary, and commissions (before ali payroll
deductions). If not paid monthly, calculate what the monthly wage would be.

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
below. If you need more space, attach a separate sheet to this form.

For Debtor 1 For Debtor 2 or
non-filing spouse
2. g¢ 5,000.00 $
3. +$ + $
4, | ¢ 5,000.00 $

Official Form 1061

Schedule I: Your income

page 1
ced

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13,Do you expect an increase or decrease within the year after you file this form?

Wi No.

Debtor 1 Rodney A Long Case number (if known),
First Name Middle Name Last Name
For Debtor.1 For Debtor.2 or.
non-filing spouse
Copy lime 4 Here.......sesssesssssessesccesscnsrsssseeerseeessouessnvonsnensaueessnsesnateesntersasenenaneness >4. $5,000.00 $
5, List all payroll deductions:
5a. Tax, Medicare, and Social Security deductions 5a. §$ $
5b. Mandatory contributions for retirement plans 5b. = $ $
5c. Voluntary contributions for retirement plans 5c. §$ $
5d. Required repayments of retirement fund loans 5d. §$ $
5e. Insurance 5e. §$ $
5f. Domestic support obligations 5f. $. $
5g. Union dues 5g. $ $
5h. Other deductions. Specify: Sh. +$ + §
6. Add the payroll deductions. Add lines 5a+ 5b+5c+5d+5e+5f+5g+5h. 6 § 0.00 $
7. Calculate total monthly take-home pay. Subtract line 6 from line 4. 7. $ 5,000.00 $
8. List all other income regularly received:
8a. Net income from rental property and from operating a business,
profession, or farm
Attach a statement for each property and business showing gross
receipts, ordinary and necessary business expenses, and the total $ $
monthly net income. 8a.
8b. Interest and dividends 8b. §$ $
8c. Family support payments that you, a non-filing spouse, or a dependent
regularly receive
Include alimony, spousal support, child support, maintenance, divorce $ $
settlement, and property settlement. 8c.
8d. Unemployment compensation 8d. §. $
8e. Social Security 8e. § $
8f. Other government assistance that you regularly receive
Include cash assistance and the value (if known) of any non-cash assistance
that you receive, such as food stamps (benefits under the Supplemental
Nutrition Assistance Program) or housing subsidies.
Specify: af. = 8 $
8g. Pension or retirement income 8g. §$ $
8h. Other monthly income. Specify: 8h. +$ +$
9. Add all other income. Add lines 8a + 8b + 8c + 8d + Be + 8f +8g + Bh. 91 $ 0.00 $
10. Calculate monthly income. Add line 7 + line 9. 5.000.00 _ 5 000.00
Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse. 10. Loe ™ s__5,000.00
11, State all other regular contributions to the expenses that you list in Schedule J.
Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
friends or relatives.
Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
Specify: Ww. §
12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income. 5000.00
Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies 12. sles
Combined

monthly income

CL} -Yes-Explain:

Official Form 1061

Schedule |: Your Income

page 2

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J

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TT MUM UEM LICE ieee om (ela cel) Umer CL

Debtor 1 Rodney A Long vette te.

First Name Middle Name Last Name Check if this Is:
Debtor 2 i
(Spouse, if filing) First Name Middle Name Last Name O An amended filing

LJ A supplement showing postpetition chapter 13
expenses as of the following date:

United States Bankruptcy Court for the: District of Colorado

Case number MM / DD/ YYYY
(If known)

Official Form 106J
Schedule J: Your Expenses 12/15

Be as complete and accurate as possible. if two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known), Answer every question.

Coe Describe Your Household

1. Is this a joint case?

W No. Goto line 2.
C] Yes. Does Debtor 2 live in a separate household?

C No
U Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2. Do you have dependents? W No
Dependent’s relationship to Dependent’s Does dependent live
Do not list Debtor 1 and () Yes. Fill out this information for Debtor 1 or Debtor 2 age _ with you?
Debtor 2. each dependent.........iscserese O
Do not state the dependents’ O No
names. Yes
C) No
CO) Yes
CL) No
C) Yes
UO No
C] Yes
C) No
O Yes
3. Do your expenses include No

expenses of people other than Q
___ yourself and your dependents? Yes

FEET aE Estimate Your Ongoing Monthly Expenses

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy Is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses pald for with non-cash government assistance if you know the value of

such assistance and have included it on Schedule I: Your Income (Official Form 1061.) Your-expenses
4. The rental or home ownership expenses for your residence. Include first mortgage payments and
$ 2,800.00
any rent for the ground or lot. 4,

If not included in line 4:

4a. Real estate taxes 4a. $§
4b. Property, homeowner's, or renter’s insurance 4b. §
4c. Home maintenance, repair, and upkeep expenses 4c. $
4d. Homeowner's associatioror condominium dues 4d:-——$

Official Form 106J Schedule J: Your Expenses page 1
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4

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Debtor 1 Rodney A Long Case number (if known)
First Name Middle Name Last Name
Your expenses
5. Additional mortgage payments for your residence, such as home equity loans 5. $
6. Utilities:
6a. Electricity, heat, natural gas 6a. of 180.00
6b. Water, sewer, garbage collection 6b. = $. 100.00
6c. Telephone, cell phone, Internet, satellite, and cable services 6c. =§ 350.00
6d. Other. Specify: 6d. §.
7. Food and housekeeping supplies 7 $ 210.00
8. Childcare and children’s education costs 8, $
9, Clothing, laundry, and dry cleaning 9. $ 25.00
10. Personal care products and services 10. $ 30.00
41. Medical and dental expenses 1. = § 60.00
42. Transportation. Include gas, maintenance, bus or train fare. $ 450.00
Do not include car payments. 12.
43. Entertainment, clubs, recreation, newspapers, magazines, and books 13.
14. Charitable contributions and religious donations 14.
15. Insurance.
Do not include insurance deducted from your pay or included in lines 4 or 20.
15a. Life insurance 15a. §
15b. Health insurance 15b.  §.
15c, Vehicle insurance 15. $
45d. Other insurance. Specify: 15d.  §
16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
Specify: 16, §
17. Installment or lease payments:
17a. Car payments for Vehicle 1 17a, § 161.00
17b. Car payments for Vehicle 2 17%. $ 260.00
470. Other. Specify;_29d Morgage 17. § 860.00
17d, Other. Specify: 17d. $
48. Your payments of alimony, maintenance, and support that you did not report as deducted from
your pay on line 5, Schedule |, Your Income (Official Form 1061). 18. g
19. Other payments you make to support others who do not live with you.
Specify: 19. §
20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule f: Your Income.
20a. Mortgages on other property 20a. $
20b. Real estate taxes 20. §$
20c. Property, homeowner's, or renter’s insurance 20c, §.
20d. Maintenance, repair, and upkeep expenses 20d. $
20e. Homeowner's association or condominium dues 20e. §
Official Form 106J Schedule J: Your Expenses page 2

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Debtor 1 Rodney A Long Case number (if known)

First Name Middie Name Last Name

21. Other. Specify: 21. +#G
22. Calculate your monthly expenses.
22a. Add lines 4 through 21, 22a. | ¢ 5,186.00
22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2 22. | ¢ 0.00
22c. Add line 22a and 22b. The result is your monthly expenses. 22c. $ 5,186.00
23. Calculate your monthly net income.
§ 5,000.00
23a. Copy line 12 (your combined monthly income) from Schedule I. 23a.
23b. Copy your monthly expenses from line 22c above. 23b. —¢ 5,186.00
23c. Subtract your monthly expenses from your monthly income. 186.00
The result is your monthly net income. 23c. $ :
24. Do you expect an increase or decrease in your expenses within the year after you file this form?
For example, do you expect to finish paying for your car loan within the year or do you expect your
mortgage payment to increase or decrease because of a modification to the terms of your mortgage?
Wf No. ,
QO) Yes. — Explain here:
| |
| |
| |
Official Form 106J Schedule J: Your Expenses page 3

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United States Bankruptcy Court for the: District of Colorado

Case number

Debtor?  _Rodney A Long
Firat Name Middle Name Last Nama

Debtor 2

(Spouse, if filing) First Name Middle Name Last Name

(if known)

Official Form 106Dec

Declaration About an Individual Debtor’s Schedules

nf

CL) Check if this is an
amended filing

12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both, 18 U.S.C. §§ 152, 1341, 1519, and 3571.

Did you pay or agree to pay someone who is NOT an attorney to heip you fill out bankruptcy forms?

W No

L) Yes. Name of person

Under penalty of perjury, | declare that | have read the summary and schedules filed with this declaration and

that they are true and correct.

x

x Macbirege h = —

Signature of Debtor 1

pate 09/13/2019

MM/ DD / YYYY

Signature of Debtor 2

Date
MM/ DD / YYYY

. Attach Bankruptcy Petition Preparer’s Notice, Declaration, and
Signature (Official Form 119).

Official Form 106Dec

Declaration About an Individual Debtor's Schedules
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Verification of Creditor Mailing Matrix
L.B.F. Form 1007-2.1

[Caption as in Official Form 416A]
VERIFICATION OF CREDITOR ADDRESS MAILING MATRIX
The above named debtor hereby verifies under penalty of perjury that the attached

Creditor Address Mailing Matrix (list of creditors) is true and correct to the best of my
knowledge.

Dated: “@-/3~- (7 By: Aad, A oe
Signature of debtor”

Printed name of debtor

By:
Signature of joint-debtor

Printed name of joint-debtor
Home address

Telephone number
Facsimile number

E-mail address

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Cover Sheet for Petition
L.B.F. 1002-1.1

CHECK APPLICABLE BOXES TO SHOW ALL DOCUMENTS ATTACHED

Name of debtor(s): [ ] Attorney (firm name, address, telephone, and
Aad new he Lona registration number):

[> No attorney (“pro se”)(home address, telephone):

Filing fee (revised per directive of the Judicial Conference of the United States):

]
[]
[]
[]
[]

$335 for chapter 7

$1,717 for chapter 11

$275 for chapter 12

$310 for chapter 13 —

Other fee paid: $ 335.00 __. Enter amount AND attach applicable application under FED.
R. BANKR. P. 1006 to pay in installments or pursuant to 28 U.S.C. § 1930(f) (if applicable).

Individual and business debtor(s) (except as otherwise noted):

x]
Xl

xl
x]

Ix]
[Xl
Ix]

x]

Voluntary Petition for Individuals Filing for Bankruptcy, Official Form 101, or Voluntary
Petition for Non-Individuals Filing for Bankruptcy, Official Form 201

Your Statement of Financial Affairs for Individuals Filing for Bankruptcy, Official Form
107, or Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy, Official
Form 207

Summary of Your Assets and Liabilities and Certain Statistical Information , Official Form
106Sum, or Summary of Assets and Liabilities for Non-Individuals, Official Form 206Sum
Schedules A-J — Official Forms 106A/B, 106C, 106D, 106E/F, 106G, 106H, 1061 and
106J for Individuals, or Official Forms 206A/B, 106D, 106E/F, 106G, 106H, 106I and
106J for Non-Individuals

Declaration About an Individual Debtor’s Schedules, Official Form 106Dec, or
Declaration Under Penalty of Perjury for Non-Individual Debtors, Official Form 202
Bankruptcy Petition Preparer’s Notice, Declaration, and Signature, Official Form 119,
(submitted only if debtor(s) used the services of a bankruptcy petition preparer)

For each individual debtor, copies of all payment advices, paycheck stubs, or other
evidence of all salary, commissions or income received within 60 days before the
bankruptcy case was filed, copied on 8 % by 11 paper with the debtor’s first and last name
printed on top of each page (and bankruptcy case number, if a number has been assigned);
OR, as applicable, complete L.B. Form 1007-6.1 (“Statement Under Penalty of Perjury
Concerning Payment Advices”) for each debtor.

A record of any interest in an education individual retirement account (“IRA”) (26 U.S.C.
§ 530(b)(1)) or qualified state tuition program (26 U.S.C. § 529(b)(1) plans).

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Ix] Attorney's Disclosure of Compensation — Director’s Form 203 (Form 2030)
[x] Verification of Creditors’ Matrix — L.B. Form 1007-2.1

Ix] Creditors’ Matrix (see L.B.R. 1007-2 and L.B.R. 1007-2App. for instructions).
Additional items due from ALL individual debtors:

[] Statement About Your Social Security Numbers — Official Form 121

Chapter 7 individual debtors also must file:
Ixl Applicable Statements of Current Monthly Income and Means Test Calculation
Forms: Chapter 7 Statement of Your Current Monthly Income, Official Form
122A-1, Statement of Exemption from Presumption of Abuse Under § 707(b)(2),
Official Form 122A-1Supp, and/or Chapter 7 Means Test Calculation, Official
122A-2*
Ixl Statement of Intention for Individuals Filing Under Chapter 7, Official Form 108
(due thirty days post-petition) (the failure to comply with this statement and file
reaffirmation agreements or motions to redeem personal property that the debtor
does not intend to surrender has ramifications 45 days after the first scheduled
meeting of creditors under 11 U.S.C. § 362(h) of the Bankruptcy Code)
Chapter 11 individual debtors also must file:
[ ] Chapter 11 Statement of Your Current Monthly Income, Official Form 122B
Chapter 13 individual debtors also must file:
[1]. Applicable Statements of Current Monthly Income and Calculation of Commitment
Period: Chapter 13 Statement of Your Current Monthly Income and Calculation of
Commitment Period, Official Form 122C-1 and Chapter 13 Calculation of Your
Disposable Income, Official Form 122C-2*
[ ] Chapter 13 Plan, L.B. Form 3015.1.1

*The links for the updated Internal Revenue Service and Census Bureau Information that may be needed to
complete these forms can be reached from the web site: http://www.usdoj.gov/ust/.

Additional items due from chapter 11 debtors:

[] For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured
Claims Against You and Are Not Insiders, Official Form 104

[J Corporate Ownership Statement as required by FED. R BANKR. P. 1007(a)(1) for
corporations, L.B. Form 1007-4.1.

[] List of Equity Interest Holders as required by FED. R. BANKR. P. 1007(a)(3) for
corporations, L.B. Form 1007-4.2.

[ ] Small business debtors must file the most recent 1) balance sheet, 2) statements of
operations, 3) cash-flow statement and 4) federal income tax return; OR a verified
statement that those documents do not exist and have not been prepared or filed.

[ ] Disclosure Regarding Receivers Bankruptcy Form 1007-7.1.

Date: Printed name of party signing: Signature of attorney (or debtor without

counsel):
Kodvley K. Len } And, c& oS
f AL 2

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UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF COLORADO

In re: Case No. unknown
Rodney A Long
2823 Vine St
Denver, CO 80205

Last 4 digits of SSN and /or EIN 4485

Debtor(s):
Rodney A Long Chapter _7

Statement Under Penalty of Perjury Concerning Payment Advices Due Pursuant to
11 U.S.C. 521(a)(1)(B) Gv)

I, Rodney A Long , state as follows:

I did not file with the Court copies of all payment advices or other evidence of
payment received within 30 days preceding the date of filing of the petition from any employer
because:

a) I was not employed during the period immediately preceding the
filing of the above referenced case and have been unemployed since

b) I was employed during the period immediately preceding the filing the
above referenced case but did not receive any payment advices or other evidence of payment

from my employer within 60 days before the filing of the petition

x c) lam self-employed and do not receive any evidence of payment
from an employer.

d) Other: I receive Long Term Disability

I declare under penalty of perjury that the forgoing statement is true and correct.
Dated this _13 day of September, 2019.

A. Aye we > ———.__ (Signature of Debtor)

